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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA


 UNITED STATES OF AMERICA,

          Plaintiff,
 vs.                                                   CASE NO. 24-CR-20456-JB

 ALFRED DAVIS,

      Defendant.
 ___________________________/

                              MOTION FOR PRETRIAL RELEASE

          COMES NOW, the Defendant Alfred Davis, by and through the undersigned
 counsel, and unopposed by the government, pursuant to 18 U.S.C §3142, hereby
 requests this Honorable Court enter an order releasing the Defendant from custody
 pending trial, and in support thereof states the following:
       1. The Defendant was charged via indictment with three counts of wire fraud in
          violation of 18 U.S.C. §1353 and two counts of engaging in transactions in
          criminally derived property in violation of 18 U.S.C. §1957. See [DE 1].
       2. The parties stipulated pretrial detention with a right to visit, which the Court ratified.
          [DE 6].
       3. The Defendant has remained in custody since that initial stipulation.
       4. The Defendant now seeks to revisit that prior order of pretrial detention and seeks
          his release from custody pending trial.
       5. The parties have conferred and agreed to a $100,000.00 personal surety bond
          with two consignors.


                              LOCAL RULE 88.9 CERTIFICATION
          The undersigned counsel has conferred with the Government in good faith on the
 subject matter of this motion. The Government has no objections to the reasons stated
 by the undersigned counsel in this motion.

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                              CERTIFICATE OF SERVICE
       I HEREBY CERTIFY that on February 27, 2025, I electronically filed the foregoing
 document with the Clerk of Court using CM/ECF. I also certify that the foregoing document
 is being served this day via transmission of a Notice of Electronic Filing generated by
 CM.ECF to: Jonathan Bailyn, AUSA, Federal Justice Building, 99 N.E. Fourth Street,
 Miami, Florida 33132-2111.


                                          Respectfully Submitted,
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                                          By:________________________

                                          Brian Kirlew, Esq.
                                          FL Bar No.: 0067218




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